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                          UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


SUVERINO FRITH, SAVANNAH KINZER,
CEDRICK JUAREZ, FAITH WALSH,
MACKENZIE SHANAHAN, COREY SAMUEL,
ABDULAI BARRY, LINDSAY VUONG,            Case No. _________________
SAMANTHA BERIMBAU, CAMILLE TUCKER-
TOLBERT, ANA BELÉN DEL RIO-RAMIREZ,
LYLAH STYLES, KAYLA GREENE, and
SHARIE ROBINSON, individually and on
behalf of all others similarly situated,

                   Plaintiffs,

v.

WHOLE FOODS MARKET, INC.

                   Defendant


                     CLASS ACTION COMPLAINT REQUESTING
                 PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF

       1.      Due to the onset of the global coronavirus pandemic, grocery workers (like

 many other workers around the country) are now required to wear masks to work.

 Following the death of George Floyd and demonstrations this spring around the country

 protesting police violence and other discrimination against Blacks, more people have

 been showing their support for the Black Lives Matter movement. Recently, in a show of

 solidarity, Whole Foods employees in a number of stores around the country began

 wearing masks with the message Black Lives Matter. They did this to protest racism and

 police violence against Blacks and to show support for Black employees.

       2.      Although Whole Foods and its parent company Amazon have professed to

 support the Black Lives Matter movement, Whole Foods began disciplining employees

 for wearing these masks. Although Whole Foods had not previously strictly enforced its

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dress code policy (and had not disciplined employees for wearing other messages,

including political messages), the company began sending employees home without pay

for wearing Black Lives Matters masks. Whole Foods has threatened employees with

termination if they continue wearing the masks. In some locations, employees have

been given disciplinary “points” when they are sent home for wearing the mask, which

put them at risk for termination. One of the lead organizers, Plaintiff Savannah Kinzer,

was terminated on Saturday, July 18, 2020, because of the discipline she received for

wearing a Black Lives Matter mask and for her involvement and leadership in organizing

her co-workers to wear the masks and protesting Whole Foods’ discipline of employees

for doing so.

       3.       The above-named plaintiffs now bring this Complaint on behalf of themselves

and other similarly situated employees who have worked for Defendant Whole Foods

Market, Inc. (“Whole Foods”), alleging that Whole Foods has violated Title VII of the Civil

Rights Act of 1964, 42 U.S.C. § 2000e, et seq., by discriminating against Black employees

and other employees for showing support for Black employees and protesting racism in the

workplace by wearing Black Lives Matter masks. Whole Foods has further retaliated

against employees for protesting racism in the workplace and protesting Whole Foods’

failure to allow employees to wear Black Lives Matter masks at work.

       4.       Whole Foods’ selective enforcement of its dress code in disciplining

employees who wear apparel expressing support for the Black Lives Matter movement

constitutes unlawful discrimination on the basis of race and on the basis of employees’

affiliation with and advocacy for Black employees. Whole Foods has further unlawfully




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retaliated against its employees in violation of Title VII for their opposition to its unlawful and

discriminatory practices.

       5.      Plaintiffs bring this claim on behalf of themselves and similarly situated

Whole Foods employees across the country who have been subject to Whole Foods’

discriminatory and retaliatory policy. Plaintiffs seek preliminary and permanent injunctive

relief, calling for an end to Whole Foods’ policy of not allowing employees to wear Black

Lives Matter masks at work. They also seek redress for employees who have been

disciplined for wearing Black Lives Matter masks, including expungement of discipline

from the records of those employees who have been disciplined, back pay for employees

who have been sent home without pay, and reinstatement of Plaintiff Savannah Kinzer

who was terminated in retaliation for wearing a Black Lives Matter mask and protesting

Whole Foods’ discriminatory and retaliatory policy.

II.     PARTIES

       6.      Plaintiff Suverino Frith resides in Randolph, Massachusetts, and works for

Whole Foods at the River Street location in Cambridge, Massachusetts.

       7.      Plaintiff Savannah Kinzer resides in Boston, Massachusetts, and worked

for Whole Foods at the River Street location in Cambridge, Massachusetts, until her

termination on July 18, 2020.

       8.      Plaintiff Cedrick Juarez resides in Boston, Massachusetts, and works for

Whole Foods at the River Street location in Cambridge, Massachusetts.

       9.      Plaintiff Faith Walsh resides in Boston, Massachusetts, and works for

Whole Foods at the River Street location in Cambridge, Massachusetts.




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      10.    Plaintiff Mackenzie Shanahan resides in Cambridge, Massachusetts, and

works for Whole Foods at the River Street location in Cambridge, Massachusetts.

      11.    Plaintiff Corey Samuel resides in Dorchester, Massachusetts, and works

for Whole foods at the River Street location in Cambridge, Massachusetts.

      12.    Plaintiff Abdulai Barry resides in Cambridge, Massachusetts, and works for

Whole Foods at the Alewife Parkway (Fresh Pond) location in Cambridge,

Massachusetts.

      13.    Plaintiff Lindsay Vuong resides in Belmont, Massachusetts, and works for

Whole Foods at the Alewife Parkway (Fresh Pond) location in Cambridge,

Massachusetts.

      14.    Plaintiff Samantha Berimbau resides in Melrose, Massachusetts, and

works for Whole Foods at the Alewife Parkway (Fresh Pond) location in Cambridge,

Massachusetts.

      15.    Plaintiff Camille Tucker-Tolbert resides in Federal Way, Washington, and

worked for Whole Foods at the Westlake Avenue in Seattle, Washington.

      16.    Plaintiff Ana Belén Del Rio-Ramirez resides in Oakland, California, and

worked for Whole Foods at the Telegraph Avenue location in Berkeley, California.

      17.    Plaintiff Lylah Styles resides in Manchester, New Hampshire, and works for

Whole Foods at the Orchard Street location in Bedford, New Hampshire.

      18.    Plaintiff Kayla Greene resides in Manchester, New Hampshire, and works

for Whole Foods at the Orchard Street location in Bedford, New Hampshire.

      19.    Plaintiff Sharie Robinson resides in Manchester, New Hampshire, and

works for Whole Foods at the Orchard Street location in Bedford, New Hampshire.



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       20.   Plaintiffs brings these claims on behalf of themselves and similarly situated

Whole Foods employees across the country who have been subjected to Whole Foods’

discriminatory and retaliatory policy of not allowing employees to wear Black Lives

Matter masks at work.

       21.   Defendant Whole Foods Market, Inc. is a corporation headquartered in

Austin, Texas. Whole Foods operates hundreds of grocery stores throughout the United

State. Whole Foods is owned by parent corporation Amazon.com, Inc., a corporation

headquartered in Seattle, Washington.

III.   JURISDICTION AND VENUE

       22.   This Court has general federal question jurisdiction over this matter

pursuant to 28 U.S.C. § 1331, as this case arises under federal law, namely, Title VII of

the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq.

       23.   The District of Massachusetts is a proper venue for this action pursuant to

28 U.S.C. § 1391(b)(2) because a substantial part of the events giving rise to the claim

took place in Massachusetts.

IV.    STATEMENT OF FACTS

       24.   In recent weeks, Plaintiffs and other Whole Foods employees across the

country have been subject to unlawful discrimination and retaliation by Whole Foods

through its selective enforcement of its dress code policy.

       25.   Specifically, Whole Foods has prohibited its employees from wearing

masks and other apparel and accessories with the message Black Lives Matter.




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      26.    Across its stores, Whole Foods maintains a dress code policy which

nominally prohibits employees from wearing clothing with visible slogans, messages,

logos, or advertising that are not company-related.

      27.    Until recently, however, this policy was generally unenforced.

      28.    For example, Whole Foods employees have worn apparel bearing various

logos, such as those of local sports teams, as well as apparel with other messages and

slogans, including political messages, without facing discipline. Employees have

commonly worn Pride flags in support of their LGBTQ+ coworkers without being

disciplined by Whole Foods. Employees have not been sent home or received discipline

for wearing Pride pins or apparel.

      29.    When employees have violated the dress code policy, in the past, it has

either been ignored, or sometimes management has informed employees about it but

without sending them home or imposing other discipline.

      30.    Due to the onset of the global coronavirus pandemic, grocery workers (like

many other workers across the country) are now required to wear masks to work.

      31.    Whole Foods employees began wearing masks emblazoned with different

images or slogans. For example, at the Bedford, New Hampshire, Whole Foods

location, one employee was allowed to wear a SpongeBob mask without any

repercussions. At the Seattle, Washington, location, another Whole Foods employee

wore a mask with images and names of vegetables, without being disciplined. At the

Berkeley, California location, employees have been allowed to wear masks with prints.




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      32.    Following the death of George Floyd and demonstrations this spring

around the country protesting police violence and other discrimination against Blacks,

more people have been showing their support for the Black Lives Matter movement.

      33.    Around June 2020, many Black Whole Foods employees and their non-

Black coworkers began wearing masks with the message Black Lives Matter.

      34.    Plaintiffs and other Whole Foods employees expected Whole Foods would

support their decision to wear these masks because Whole Foods has expressed

support for inclusivity and equality and because it previously allowed its employees to

express support for their LGBTQ+ coworkers through their apparel without discipline.

      35.    Following the death of George Floyd and nationwide protests against police

violence and racism against Blacks, Whole Foods stated on its website: “Racism has no

place here.” The text is in a large banner with the caption: “Racism and discrimination of

any kind have no place at Whole Foods Market. We support the black community and

meaningful change in the world.”

      36.    Whole Foods parent company Amazon ran a “Black Lives Matter” banner

on its website and CEO Jeff Bezos defended the statement.

      37.    Nonetheless, although Whole Foods had not previously done so, Whole

Foods began strictly enforcing its dress code policy once its employees started wearing

Black Lives Matter masks and other Black Lives Matter apparel, such as pins or

sneakers. Whole Foods began subjecting Plaintiffs and other employees to discipline if

they refused to remove their Black Lives Matter masks.

      38.    For example, at the River Street location in Cambridge, Massachusetts,

Whole Foods has been sending home employees (including Plaintiffs Frith, Kinzer,



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Juarez, Walsh, Shanahan, and Samuel) who show up to work wearing a Black Lives

Matter mask.1 The employees receive no pay for reporting to work and are given

disciplinary “points” and sent home for wearing the mask. These points are part of a

progressive discipline policy, and employees are subject to termination once they

accumulate a certain amount of points.

      39.      Likewise, at the Fresh Pond location in Cambridge, Massachusetts, Whole

Foods has also sent employees home without pay for refusing to remove their Black

Lives Matter masks (including Plaintiffs Barry, Vuong, and Berimbau).

      40.      In Seattle, Washington, Whole Foods has been writing its employees up for

wearing the Black Lives Matter mask. The employees have also been placed on a

“corrective action pathway,” that requires employees to re-train.2 Plaintiff Tucker-Talbot

was placed on a corrective action pathway and was sent home on two occasions for

wearing her Black Lives Matter mask. She recently left the position due to feeling

unwelcome in the workplace after having been disciplined for wearing her Black Lives

Matter mask. Despite giving two weeks notice of her resignation, she was told to leave

immediately.

      41.      In Berkeley, California, Whole Foods has sent employees home for

wearing Black Lives Matter masks and pins, including Plaintiff Del-Rio Ramirez. She


1
        Katie Johnston, Whole Foods workers sent home for wearing Black Lives Matter
masks, Boston Globe (June 25, 2020),
https://www.bostonglobe.com/2020/06/25/business/whole-foods-workers-sent-home-
wearing-black-lives-matter-masks/.
2
       Irina Ivanova, Whole Foods Workers Protest for Right to Wear ‘Black Lives
Matter’ Masks, CBS News (June 28, 2020), https://www.cbsnews.com/news/black-lives-
matter-whole-foods-workers-protest-masks/.

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likewise left the position due to feeling unwelcome in the workplace after having been

disciplined for wearing her Black Lives Matter pin.

         42.   In Bedford, New Hampshire, Whole Foods has also been assigning

employees a disciplinary “point” for wearing the Black Lives Matter mask and sending

workers home without pay if they refuse to take off the mask.3 Plaintiffs Styles and

Greene have both been sent home without pay and subject to discipline for wearing

Black Lives Matter masks. After witnessing the discipline, Plaintiff Robinson stopped

wearing her mask because she could not afford to be sent home or risk termination.

         43.   It is widely reported that Whole Foods employees at other locations as well,

such as in Philadelphia, Pennsylvania; Wilmington, North Carolina; Michigan; and

Milford, Connecticut, have also been subjected to similar discipline for wearing the Black

Lives Matter masks or other apparel (or Black Lives Matters statements of support) to

work.4



3
        Melanie Tynn, 2 NH Whole Foods Employees Sent Home for Wearing Black
Lives Matter Masks: Report, NECN (June 15, 2020).
https://www.necn.com/news/local/new-hampshire/two-nh-whole-foods-employees-sent-
home-for-wearing-black-lives-matter-masks-report/2286102/.
4
        See, e.g., Allison Steele, Whole Foods Employees Demanding the Right to Wear
Black Lives Matter Apparel at Work, The Philadelphia Inquirer (June 21, 2020).
https://www.inquirer.com/news/whole-foods-black-lives-matter-protest-employees-
masks-starbucks-20200621.html (reporting that several employees at the South Street
location in Philadelphia, PA, had been sent home for wearing Black Lives Matter
masks); Zach Murdock, Milford Whole Foods Employees Join Nationwide Protests to
Allow Staff to Wear Black Lives Matter Items, Hartford Courant, July 7, 2020,
https://www.courant.com/breaking-news/hc-br-milford-whole-foods-black-lives-matter-
20200707-2o7maelsnvdbrkdn63xx4657mq-story.html (reporting that several employees
were sent home for wearing shirts with the statement “Racism has no place here”); Kate
Taylor & Hayley Peterson, Workers Speak Out Against Black Lives Matter Face Mask
Bans, as Companies Like Starbucks, Taco Bell, and Whole Foods Grapple with Viral
Backlash, Business Insider, July 12, 2020, https://www.msn.com/en-
us/money/companies/workers-speak-out-against-black-lives-matter-face-mask-bans-as-
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         44.   Whole Foods has made a corporate decision not to allow its employees to

wear the Black Lives Matter masks. Employees at the River Street location in

Cambridge, Massachusetts, were told by their managers that store-level management

had no discretion over the decision. Management likewise told employees at the

Berkeley, California, location that the decision came from above and was out of their

hands.

         45.   Indeed, a Whole Foods Market spokesperson has confirmed that Whole

Foods employees are being prohibited from wearing Black Lives Matter masks and

apparel across locations.5

         46.   Whole Foods’ policy of not allowing its employees to wear Black Lives

Matter masks is discriminatory, both against Black employees who are participating in

and leading the employee protest, and against other employees who are associating with

and advocating for Black Whole Foods employees and protesting racism and

discrimination in the workplace, by wearing the masks and showing support for their

Black co-workers.

         47.   Further, as the protest has proceeded over the last weeks, employees are

wearing the masks in order to challenge what they perceive to be racism and

discrimination by Whole Foods for not allowing employees to wear the Black Lives



companies-like-starbucks-taco-bell-and-whole-foods-grapple-with-viral-backlash/ar-
BB16DWsc (reporting that Whole Foods employees at stores in Michigan, Connecticut,
and North Carolina had worn Black Lives Matter gear to work and were told by
management to either remove it or go home).

5
       See Nicole Karlis, Whole Foods is Quietly Telling Workers Not to Show Black
Lives Matter Support at Work, June 27, 2020, https://www.salon.com/2020/06/27/whole-
foods-is-quietly-telling-workers-not-to-show-black-lives-matter-support-at-work/.

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Matter masks. Whole Foods’ discipline of these employees constitutes retaliation

against the employees for engaging in protected activity, namely opposing discrimination

and racism in the workplace.

       48.    This retaliation has deterred many Whole Foods employees from

supporting the protest and wearing Black Lives Matter masks at work. For example,

Plaintiff Sherie Robinson’s daughter was disciplined for wearing a mask, and so Ms.

Robinson, who wants to wear one, has refrained from continuing to do so because she is

afraid of losing her job or being sent home without pay.

       49.    Whole Foods has forced Plaintiffs and other Whole Foods employees to

remove their Black Lives Matter masks and has disciplined, refused to pay, and has sent

home, and continues to discipline, deny pay, and send home employees, in response to

their wearing the Black Lives Matter masks on their shifts.

       50.    Plaintiffs and other Whole Foods employees believe that the decision by

Whole Foods to selectively enforce its dress code policy in order to ban Black Lives

Matter masks is discriminatory and unlawful because Whole Foods has not strictly

enforced the dress code policy before and did not discipline employees for wearing

apparel with other political messages, including apparel similarly supportive of their

LGBTQ+ coworkers.

       51.    Whole Foods has retaliated and continues to retaliate against Plaintiffs and

other employees for their ongoing opposition to the discriminatory and retaliatory policy

by subjecting them to discipline for their protected activity in opposing what they

reasonably believe are discriminatory and retaliatory policies.




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       52.    On July 18, 2020, Plaintiff Savannah Kinzer, who has been a leader in

organizing employees to wear the Black Lives Matter masks (and has led a number of

protests outside Whole Foods stores, challenging the company’s policy of not allowing

employees to wear the masks), was fired. She was terminated due to her accumulation

of disciplinary points, most of which she received as a result of wearing the Black Lives

Matter mask. She was also terminated in retaliation for being a leader in organizing the

employees to wear the masks and protesting the company’s policy of disciplining

employees for wearing the masks.

       53.    Just prior to being terminated, Ms. Kinzer informed management that she

was legally challenging Whole Foods for its discriminatory and retaliatory policy and that

she had filed a charge of discrimination and retaliation with the Equal Employment

Opportunity Commission and a charge of unfair labor practices with the National Labor

Relations Board. She provided a manager with a copy of the filed charges. She was

fired about an hour later and escorted out of the store.

V.      CLASS ACTION ALLEGATIONS

       54.    Plaintiffs bring this case as a class action on behalf of all Whole Foods

employees who have been subject to Whole Foods’ policy of not allowing employees to

wear Black Lives Matter masks, including employees who have been disciplined or

subject to adverse employment action for wearing the masks or for opposing Whole

Foods’ practice of disciplining employees for wearing Black Lives Matter masks.

       55.    This class will meet the prerequisites of Fed. R. Civ. P. 23(a) and Fed. R.

Civ. P. 23(b)(2) and 23(b)(3) specifically, in that:




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 a. The class is so numerous that joining all members is impracticable. The

    exact number of the members of the class is unknown, but Whole Foods

    employees across the country have been prohibited from wearing Black

    Lives Matter masks and other related apparel at work. In addition, well

    more than forty (40) Whole Foods employees have been disciplined for

    wearing Black Lives Matter masks and opposing Whole Foods’ practice of

    disciplining employees for wearing Black Live Matter masks. As a result,

    joinder of all of these individuals is impracticable.

 b. There are questions of fact and law common to all of these potential class

    members, because all of these individuals have been subject to Whole

    Foods’ policy of not allowing employees to wear Black Lives Matter

    masks.

 c. The claims of the named plaintiffs are typical of the claims of employees

    across the country who have been subject to Whole Foods’ policy of not

    allowing employees to wear Black Lives Matter masks and who have been

    disciplined for wearing the masks.

 d. Plaintiffs and their counsel will fairly and adequately represent the

    interests of each class. The named plaintiffs have no interests adverse to

    or in conflict with the class members whom they propose to represent.

    Plaintiffs’ counsel are well qualified to litigate this case, as they have been

    recognized as leading counsel nationally for representing the rights of

    employees in class action and other employment litigation across the

    nation.



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             e. The questions of law or fact common to all members of each class

                predominate over any questions affecting only individual members. The

                common questions include, among other things, whether Whole Foods’

                policy of prohibiting employees from wearing Black Lives Matter masks

                and disciplining employees who do so is discriminatory and retaliatory.

             f. Litigating these claims as a class action is superior to other available

                methods for the fair and efficient adjudication of these claims. Among

                other things, individual adjudications would result in a highly inefficient

                duplication of discovery, legal briefing, court proceedings, and the risk of

                inconsistent legal rulings. Further, the alternative to a class action may be

                no redress for the rights of many Whole Foods employees across the

                country who would not litigate these claims individually.

VI. EXHAUSTION OF ADMINISTRATIVE REMEDIES

       56.     Plaintiffs Frith, Kinzer, Del-Rio Ramirez, and Tucker-Tolbert timely filed

Class Charges of Discrimination with the Equal Employment Opportunity Commission

(“EEOC”) prior to filing this complaint. Based on the urgent circumstances, Plaintiffs are

filing this lawsuit in court so that they may seek emergency preliminary injunctive relief

prior to receiving “right to sue” letters from the EEOC.




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                                         COUNT I

                                 RACE DISCRIMINATION
     in Violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-2


       Plaintiffs re-allege and incorporate the above paragraphs by reference as if fully

set forth herein. The conduct of Whole Foods in selectively enforcing its dress code

policy to ban employees from wearing Black Lives Matter masks and related apparel

constitutes unlawful discrimination based on race, because the policy has both

adversely affected Black employees and it has singled out for disfavored treatment

advocacy and expression of support for Black employees, by both Black employees and

their non-Black coworkers who have associated with them and shown support for them

through wearing, or attempting to wear, the Black Lives Matter masks at work. This

claim is brought on behalf of a class of Whole Foods employees across the country who

have been affected by Whole Foods’ policy challenged here.



                                         COUNT II

                                       RETALIATION
     in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-3


       Plaintiffs re-allege and incorporate the above paragraphs by reference as if fully

set forth herein. Whole Foods’ discipline of its employees for opposing its

discriminatory policy in not allowing employees to wear Black Lives Matter masks at

work constitutes unlawful retaliation in violation of Title VII, 42 U.S.C. § 2000e-3. This

claim is brought on behalf of a class of Whole Foods employees across the country who

have been affected by Whole Foods’ policy challenged here.



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                                          JURY DEMAND

      Plaintiffs request a trial by jury on all claims.



WHEREFORE, Plaintiffs request that this Court enter the following relief:


      1.      Find and declare that Whole Foods’ policy of not allowing employees to
      wear Black Lives Matter masks and related apparel at work, and disciplining
      employees who challenge the policy, constitutes discrimination and retaliation in
      violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e, et seq.;

      2.     Issue an injunction, immediately enjoining Whole Foods from terminating
      or otherwise continuing to discipline employees for wearing Black Lives Matter
      masks or related apparel during their shifts; and ordering that Whole Foods
      expunge any discipline accumulated by employees for wearing Black Lives
      Matter masks or related apparel;

      3.     Certify a class action pursuant to Fed. R. Civ. P. 23(b)(2) and Fed. R. Civ.
      P. 23(b)(3) and appoint Plaintiffs as class representatives and their counsel as
      class counsel;

      4.      Award compensatory damages, including back pay, for employees who
      have been sent home from work without pay, due to Whole Foods’ unlawful
      policy;

      5.     Reinstate Plaintiff Savannah Kinzer, who was fired in retaliation for
      wearing a Black Lives Matter mask, opposing racism in the workplace, and
      organizing her coworkers to wear the masks and protest Whole Foods’
      discriminatory and retaliatory policy;

      5.     Award any other damages that may be appropriate, including damages for
      emotional distress and punitive damages, including for employees who have
      been constructively discharged from their positions, based upon Whole Foods’
      discriminatory and retaliatory policy;

      6.     Award all costs and attorneys’ fees incurred prosecuting this action;

      7.     Award interest;

      8.     Any other relief to which Plaintiffs and class members may be entitled.



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Dated: July 20, 2020

                                   Respectfully submitted,


                                   SUVERINO FRITH, SAVANNAH KINZER,
                                   CEDRICK JUAREZ, FAITH WALSH,
                                   MACKENZIE SHANAHAN, COREY SAMUEL,
                                   ABDULAI BARRY, LINDSAY VUONG,
                                   SAMANTHA BERIMBAU, CAMILLE TUCKER-
                                   TOLBERT, ANA BELÉN DEL RIO-RAMIREZ,
                                   LYLAH STYLES, KAYLA GREENE, and
                                   SHARIE ROBINSON, individually and on
                                   behalf of all others similarly situated,


                                   By their attorneys,


                                   /s/ Shannon Liss-Riordan________________
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